    Case: 1:17-cv-09286 Document #: 37 Filed: 04/26/18 Page 1 of 5 PageID #:191




3033987-CMC/CPG/ASM                                                         ARDC#6299806

                        IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DEVON BANK, as Guardian of the Estate of                    ]
ALAYNA HIKE a minor, and RHONDA JONES,                      ]
Individually,                                               ]   Case No: 17-cv-09286
                          Plaintiff,                        ]
                   vs.                                      ]   Hon. John Z. Lee
UNITED STATES OF AMERICA and                                ]
VHS WEST SUBURBAN MEDICAL CENTER, INC.                      ]   Magistrate Judge
d/b/a WEST SUBURBAN MEDICAL CENTER,                         ]   Sheila M. Finnegan
                          Defendants.                       ]

      AGREED MOTION FOR QUALIFIED PROTECTIVE ORDER PURSUANT TO HIPAA

       NOW COMES the defendant, VHS WEST SUBURBAN MEDICAL CENTER, INC., d/b/a

WEST SUBURBAN MEDICAL CENTER, by and through its attorneys, SmithAmundsen LLC,

pursuant to 42 U.S.C. §1320d and 45 CFR Parts 160 and 164 (HIPAA) and requests that this

Honorable Court enter a Qualified Protective Order, stating as follows:

       1.     Plaintiffs have filed a case to recover for alleged injuries that occurred as a result

of care and treatment Plaintiff received on or about December 2, 2016, at West Suburban

Medical Center in Oak Park, Cook County, Illinois.

       2.     The defendant, treating physicians, hospitals and other health care providers

disclosed by plaintiff in this case, are all “covered entities” as defined by 45 CFR 160.103.

HIPAA prohibits covered entities from disclosing protected health information in judicial

proceedings other than by authorization or qualified protective order. 45 CFR § 164.512(e).

       3.     These covered entities are all in possession of “protected health information”

(“PHI”) as defined by 45 CFR 160.103 and 160.501, in the form of medical records (imaging,

test results, insurance documents, notes orders, labs, correspondence, pathology, etc.)

pertaining to Plaintiffs, ALAYNA HIKE a minor, and RHONDA JONES.




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    Case: 1:17-cv-09286 Document #: 37 Filed: 04/26/18 Page 2 of 5 PageID #:192




       4.     Both the prosecution and defense of this case will require that the parties, their

attorneys, their attorneys’ agents, consultants and various witnesses and other personnel

receive and review copies of the PHI pertaining to Plaintiffs, ALAYNA HIKE a minor, and

RHONDA JONES, which is in the treating providers’ possession.

       5.     Counsel for Plaintiffs and Defendant the United States agree to this motion.

       WHISEFORE, the defendant, VHS WEST SUBURBAN MEDICAL CENTER, INC., d/b/a

WEST SUBURBAN MEDICAL CENTER, respectfully requests that this Honorable Court enter the

proposed Order permitting the use and disclosure of PHI created or received by any covered

entity who has provided health care to Plaintiffs, ALAYNA HIKE a minor, and RHONDA JONES,

for any purpose connected with the pending litigation.

                                           Respectfully Submitted,

                                           SMITHAMUNDSEN LLC

                                           /s/ Anna S. Morrissey
                                           Anna S. Morrissey, ARDC #6324380
                                           Attorneys for Defendant, VHS West Suburban
                                           Medical Center, Inc.

Carmel Cosgrave - #3127000
Colin P. Gainer - #6299806
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                                              2
    Case: 1:17-cv-09286 Document #: 37 Filed: 04/26/18 Page 3 of 5 PageID #:193




3033987-CMC/CPG/ASM                                                        ARDC#6299806

                        IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DEVON BANK, as Guardian of the Estate of                   ]
ALAYNA HIKE a minor, and RHONDA JONES,                     ]
Individually,                                              ]   Case No: 17-cv-09286
                          Plaintiff,                       ]
                   vs.                                     ]   Hon. John Z. Lee
UNITED STATES OF AMERICA and                               ]
VHS WEST SUBURBAN MEDICAL CENTER, INC.                     ]   Magistrate Judge
d/b/a WEST SUBURBAN MEDICAL CENTER,                        ]   Sheila M. Finnegan
                          Defendants.                      ]

                      AGREED HIPAA QUALIFIED PROTECTIVE ORDER

       This cause coming to be heard on the Motion of VHS WEST SUBURBAN MEDICAL
CENTER, INC. d/b/a WEST SUBURBAN MEDICAL CENTER, for entry of a Qualified Protective
Order pursuant to the Health Insurance Portability and Accountability Act of 1996 ("HIPAA,"),
due notice having been given, and the Court being fully advised in the premises:

IT IS HEREBY ORDERED AS FOLLOWS:

       (1)    The current parties (and their attorneys) and any future parties (and their
attorneys) to the above-captioned matter are hereby authorized to receive, subpoena, and
transmit "protected health information” ("PHI") pertaining to Plaintiffs, ALAYNA HIKE a minor,
and RHONDA JONES, to the extent and subject to the conditions outlined herein;

       (2)     For purposes of this Qualified Protective Order, "protected health information"
or "PHI" shall have the same scope and definition as set forth in 45 CFR 160.103 and 160.501.
Without limiting the generality of the foregoing, "PHI" includes, but is not limited to, health
information, including demographic information, relating to either:

              (a)     the past, present or future physical condition of an individual;
              (b)     the provision of care to an individual; and/or
              (c)     the payment for care provided to an individual, which identifies the
                      individual or which reasonably could be expected to identify the
                      individual.

       (3)    All "covered entities" (as defined by 45 CFR 160.13) are hereby authorized to
disclose "PHI" pertaining to Plaintiffs, ALAYNA HIKE a minor, and RHONDA JONES, to all
attorneys, now of record, or who may become of record in the future of this litigation;

       (4)     The parties and their attorneys shall be permitted to use the “PHI” of Plaintiffs,
ALAYNA HIKE a minor, and RHONDA JONES, in any manner reasonably connected with the
above captioned litigation. This includes, but is not limited to, disclosure to the parties, the
attorneys' firm (i.e., attorneys, support staff, agents and consultants), the parties' insurers,


                                               3
      Case: 1:17-cv-09286 Document #: 37 Filed: 04/26/18 Page 4 of 5 PageID #:194




experts, consultants, court personnel, court reporters, copy services, trial consultants, jurors,
venire members and other entities involved in the litigation process;

       (5)     At the conclusion of the litigation as to any defendant (defined as the point at
which final orders disposing of the entire case as to any defendant have been entered, or the
time at which all trial and appellate proceedings have been exhausted as to any defendant),
that defendant, and any person or entity in possession of "PHI" received pursuant to Paragraph
4, supra, shall destroy any and all copies of "PHI" pertaining to Plaintiffs, ALAYNA HIKE a
minor, and RHONDA JONES, except:
               (a)    the defendant that is no longer in the litigation may retain "PHI"
                      generated by him/her/it; and
               (b)    the remaining defendants in the litigation, and persons or entities
                      receiving "PHI" from those defendants, pursuant to Paragraph 4, supra,
                      may retain "PHI" in their possession;

        (6)    This order shall not control or limit the use of "PHI" pertaining to Plaintiffs,
ALAYNA HIKE a minor, and RHONDA JONES, that comes into possession of any party, or any
party's attorney, from a source other than a "covered entity" (as defined in 45 CFR 160.103);

       (7)    Nothing in this order authorizes defense counsel to obtain medical records or
information through means other than formal discovery requests, subpoena, depositions,
patient authorization, or through attorney-client communications;

        (8)   Nothing in this order relieves any party from complying with the requirements
of:
              (a)     the Illinois Mental Health & Developmental Disabilities Confidentiality
                      Act (740 ILCS 110/1 et. seq.);
              (b)     the Aids Confidentiality Act (410 ILCS 305/1 et. seq); or
              (c)     state and federal law which protects certain drug and alcohol records (20
                      ILCS 301/30-5; 42 USC 290dd-3, 290ee-3 and 42 CFR Part 2).

                                                    ENTER:

                                                    __________________________________________________
                                                    JUDGE                             NO.
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                                               4
    Case: 1:17-cv-09286 Document #: 37 Filed: 04/26/18 Page 5 of 5 PageID #:195




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                       IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DEVON BANK, as Guardian of the Estate of                   ]
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Individually,                                              ]   Case No: 17-cv-09286
                          Plaintiff,                       ]
                   vs.                                     ]   Hon. John Z. Lee
UNITED STATES OF AMERICA and                               ]
VHS WEST SUBURBAN MEDICAL CENTER, INC.                     ]   Magistrate Judge
d/b/a WEST SUBURBAN MEDICAL CENTER,                        ]   Sheila M. Finnegan
                          Defendants.                      ]

                                  CERTIFICATE OF SERVICE

       I, Anna S. Morrissey, hereby certifies that on the 26th day of April, 2018, a copy of the
foregoing Defendant, VHS West Suburban Medical Center, Inc.’s Agreed Motion for
Qualified Protective Order Pursuant to HIPAA and Proposed Order, was filed
electronically. Notice of this filing will be sent to the following parties by operation of the
Court’s electronic filing system if they are registered with the CM/ECF E-Filing System. Parties
may access this filing through the Court’s system.

       Parties receiving service via CM/ECF E-Filing System are as follows:

       Matthew Mitchell Patterson                          Megan Elizabeth Donohue
       Ryan Patrick Timoney                                Assistant United States Attorney
       Jack Milton Beam                                    219 South Dearborn Street
       Beam Legal Team LLC                                 Chicago, IL 60604
       954 W Washington Blvd, Suite 215
       Chicago, IL 60607
                                            /s/ Anna S. Morrissey
                                            Anna S. Morrissey, ARDC # 6324380
                                            Attorneys for Defendant, VHS West Suburban
                                            Medical Center, Inc.

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